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                USA Exhibit A
Subject:   Re: "Not available"
From:      "JobyCase
                 Weeks"2:19-cr-00877-CCC      Document 24-1 Filed 01/15/20 Page 2 of 4 PageID: 172
                          <jobyweeks@gmail.com>
Sent:      Thu, 23 Nov 2017 16:19:55 -0500
To:
Cc:

lol dude, we gave away 80,000,000 of our crappy coin to our members for free. The coin is worth $6 each today. Thats
almost a half BILLION we gave away to our members. ($480,000,000) Not including all the money we’re making
mining dude. Your loss.



       On Nov 23, 2017, at 11:16 AM,                                               wrote:

       Don’t worry, I’m into bitcoin just not with your crappy company.

       Sent from my iPhone

       On Nov 23, 2017, at 12:34 PM, Joby Weeks                                    wrote:



              You don’t have better places to put your money… You have OTHER places to put your money.
              (where you will make a hell of a lot less bro) I highly doubt you are making 1000% a year
              returns.
              The decisions you make in life can be tracked based on simple acts of discipline or simple errors
              of judgement. Im sorry you’re choosing to make another error by failing to see whats in store for
              the future.
              Regardless, you will be using Bitcoin in the future, just like how you eventually started using the
              internet. You’re just going to end up using it when all the rest of the slow, feeble minded people
              finally figure it out, when its $50,000 a bitcoin or so. Then you’ll be able to tell them, "I had a
              chance to get in before Bitcoin was a $10,000 and I blew it because I chose to live in fear.”
              Am I calling your decision retarded. Absolutely.
              Why?
              Because I have a moral obligation to. :) Every person I told to buy Bitcoin at $1 and then $10,
              then $100, then $1000 and now its $8000 a bitcoin… Everyone of them, some times dozens a
              week, come back to me and say, “Hey man, I was retarded. Why didn’t you slap me and tell me
              to shut up and just do it.” Like its my fault that they made a bad decision and didn’t listen... And
              I say, “Yes, you were stupid. You should have listened to me. I told you so but you were too
              hard headed and fearful to figure it out.”
              Ive done my part        so you can’t blame me. :) If we ever meet in person, ill be able to say, “I
              told ya so" face to face bro. Happy thanksgiving :)
              Cheers




                    On Nov 23, 2017, at 7:48 AM,                                                     wrote:

                    Yeah, I’m retarded all right.

                    Got better places to put my money. Plus I don’t like the way they don’t respond to
                    support requests.
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   From: Joby Weeks
   Sent: Thursday, November 23, 2017 2:53 AM
   To:
   Subject: Re: "Not available"


   Bro
   What are you retarded?
   Bitcoin is up 971% this year. You want a refund? Thats the stupidest thing Ive heard all
   year.
   Whats the matter with you         Why don’t you start paying attention bro?
   You’ve had 70,000 hours to figure out bitcoin, since it was invented…Bro... you still don’t
   get it?
   Bitcoin+golden egg. Bitclub=goose
   you had to have heard that story before right?
   Which is smarter?




         On Nov 22, 2017, at 8:20 PM,
         wrote:



         Back in September/October I filled out the Refund US form and received
         message the refund would be coming. No refund has arrived and my last
         several messages to the company have gone unanswered. What’s going on
         here? Have they just taken the money and run?




         From: Joby Weeks
         Sent: Friday, August 11, 2017 9:51 AM
         To:
         Subject: Re: "Not available"

         Here is a sneak peak of our Bitcoin transaction processing data center
         https://www.youtube.com/watch?v=o2wi_5cTjXw&feature=youtu.be

         Here is a zoom call I just did that you may find interesting.
         https://www.youtube.com/watch?v=y1zVUMSwJ0o&feature=youtu.be

         Absolutely the BEST Q & A Call we have done!!! Be SURE to get this video to
         all your contacts you have gotten to watch the newwealth.com Tell them to
         have the www.newwealth.tech Projection Chart open as they watch the
         video. https://vimeo.com/user20887139/bitclubnetwork


                On Aug 11, 2017, at 11:43 AM,
                wrote:
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             Tell me more. Are you the owner or client? What does it cost
             to participate?

             I have coinbase, futurenet but otherwise don’t think I have
             bitcoin.

             From: Joby Weeks
             Sent: Friday, August 11, 2017 9:39 AM
             To:
             Cc:
             Subject: Re: "Not available"

             Thats what we are, a huge computer farm.
             Here is a sneak peak of our Bitcoin transaction processing data
             center
             https://www.youtube.com/watch?v=o2wi_5cTjXw&feature=yo
             utu.be

             You can buy bitcoin which is like buying a golden egg. Or you
             can mine bitcoin with us which is like buying the goose that lays
             the golden egg. :)
             I can get you signed up if you’d like.
             Do you have bitcoin already?
